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             Exhibit A
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                    Exhibit C
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Directive Number                                                              Title                                                 § 1979 Review
    1000.001                                             USCP Personnel-Led Tours of the Capitol                                        Not SI
    1010.004                    Providing Police Services to the Thurgood Marshall Federal Judiciary Building {TMFJB)                   Not SI
    1020.001                                                          Bias-Based Profiling                                              Not SI
    1020.002                                                           Handling Juveniles                                               Not SI
    1020.006                           District of Columbia Conditions of Release Enforcement {CORE) Program                            Not SI
    1020.007                                         Emergency Hospitalization of Mentally Ill Persons                                  Not SI
    1020.009                                        Handling Interactions with Transqender Individuals                                  Not SI
    1020.010                       Communicating With the Deaf/Hard of Hearing during Arrest, Stops, and Contacts                       Not SI
    1020.012                                           Use of Long-Range Acoustical Device (LRAD)                                       Not SI
    1021.001                                                           Search of Persons                                                Not SI
    1021.005                                                     Citation Release Processing                                            Not SI
    1021.006                                                    Delays in Processing Arrestees                                          Not SI
    1022.001                                                          Traffic Enforcement                                               Not SI
    1023.004                                                       Arraignment of Arrestees                                             Not SI
    1032.001                                               Conducting Preliminary Investigations                                        Not SI
    1041.002                                  Confiscation of Ammunition. Self-Defense Spray, or Stun Gun                               Not SI
    1060.001                                                         Cell Phone Recovery                                                Not SI
    1062.001                                                     Crime Scenes and Evidence                                              Not SI
    1073.001                                                        Protective Body Armor                                               Not SI
    1080.001                                                              Media Policy                                                  Not SI
    2000.001                                      Organizational and Management Structure of the USCP                                   Not SI
    2023.002                                            Coordination with MPDC Regarding Reports                                        Not SI
    2023.003                                               Security and Release of Police Reports                                       Not SI
    2031.001                         Roles. Authority, and Responsibilities of the Office of Inspector General (OIG)                    Not SI
    2033.001                                                           Complaint Process                                                Not SI
    2043.001                                                              Ethics Policy                                                 Not SI
    2052.006                                Notification and Reporting for Duty during Emergency Situations                             Not SI
    2052.012                                                   Police Training Officer Program                                          Not SI
    2053.002                                                         Grievance Procedures                                               Not SI
    2053.011                                          Anti-Discrimination and Anti-Harassment Policy                                    Not SI
    2053.013                                                            Rules of Conduct                                                Not SI
    2053.019                                             Employee Use of Electronic Social Media                                        Not SI
    2064.001                                               Rayburn House Office Building Range                                          Not SI
    2071.001                                                 Budget Object Classification Codes                                         Not SI
    2074.003                                                        Purchase Card Program                                               Not SI
    2081.001                         Acceptable Use of the Internet, Email. and Information Technology Equipment                        Not SI
    1000.002                                                     Retrieval of Archived Video                                              SI
    1010.001                              Police Authority Shared with Other Law Enforcement Organizations                                SI
    1010.002                                                       Jurisdiction and Authority                                             SI
    1010.003                                    Criminal History Requests from Congressional Employers                                    SI
    1012.001                            Demonstration Activities1 Application, Interpretation, and Enforcement                            SI
    1020.003                                                     Use of Handcuffs/Restraints                                              SI
    1020.004                                                              Use of Force                                                    SI
    1020.005         Contact and Processing Individuals with Unique Circumstances {Diplomats. Military Personnel, Members, etc.)          SI
    1020.011                                                  Electronic Control Devices (ECD)                                            SI
    1021.004                                               Executing Arrest and Search Warrants                                           SI
    1022.005                                           Suspicious Activity and Stop or Contact Report                                     SI
    1022.006       Truck/Unauthorized Vehicle Interdiction Monitoring Program and Truck/Unauthorized Vehicle Interdiction Program         SI
    1030.001                                       Securing the Capitol Complex During Active Threats                                     SI
    1031.001                                                          Congressional Pages                                                 SI
    1032.002                                    Interception or Recording of Wire or Oral Communications                                  SI
    1033.001                                         Information Exchange with Other Police Agencies                                      SI
    1040.001                  Lost, Stolen. Confiscated, or Recovered Congressional ID Cards and USCP-lssued ID Cards                     SI
    1040.002                                                           Security Screening                                                 SI
    1040.003                                                       Access and Event Reports                                               SI
    1040.004                                              Access Control Clearance Management                                             SI
    1040.005                                          Vehicle Screening at Perimeter and Garage Posts                                     SI
    1041.001                   Admittance of Law Enforcement Officers/Agents with Firearms into the Capitol Buildings                     SI
    1050.001                                                   Radio Communications System                                                SI
    1052.003                                                      Incident Command System                                                 SI
    1052.004                                          Response Tactics to an Active Shooter Situation                                     SI
    1052.005                                                       Air Threat Response Plan                                               SI
    1053.001                                                          Vehicular Response                                                  SI
    1053.002                                                           Vehicular Pursuits                                                 SI
    1054.001                                                         Building Evacuations                                                 SI
    1056.001                                            Utilization of the Hazardous Devices Section                                      SI
    1056.002                      Response. Command. and Control of a 10-100 NBC or Hazardous Materials Incident                          SI
    1056.003                                         Responding to a Suicide Bomber: 10-100 S (Sam)                                       SI
    1056.004                                      Advanced Law Enforcement Response Team (ALERT)                                          SI
    1057.001                             Utilization of the Containment and Emergency Response Team (CERT)                                SI




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    1073.003                                            Flying Aboard Aircraft While Armed                                                SI
    2011.002                           Handling Classified and Other Sensitive But Unclassified Information                               SI
    2022.001       Privacy Policy for Safeguarding Sensitive Personally Identifiable Information and Sensitive Health Information         SI
    2052.010                                        Identification Cards, Credentials, and Badges                                         SI
    2052.011                                         Staffing of Posts During Inclement Weather                                           SI
    2052.015                                     Office of Inspector General Credentials and Badges                                       SI
    2061.001                                       Recruit Officer Entry-Level Training Program                                           SI
    2075.001                                                 Momentum Security Policy                                                     SI
    2080.003                                                     Segregation of Duties                                                    SI
    2081.002                    Security of Information Generated by Criminal Justice Telecommunications Systems                          SI
    2081.003                                      Office of Information Systems Password Policy                                           SI
    2081.004                                               USCP Internet and Intranet Sites                                               SI
    2081.005                                              Use of USB Data Storage Devices                                                 SI
    2081.006                                            Computer Security Incident Response                                               SI
    2081.007                                                    Account Management                                                        SI
    2081.008                                                      Patch Management                                                        SI
    2081.010                                                      Risk Management                                                         SI
    2081.011                                        Information Security Continuous Monitoring                                            SI
    2081.012                                            Mobile and Wireless Device Security                                               SI
    2081.013                                              Antivirus and Malware Protection                                                SI
    2082.001                                                     Telecommunications                                                       SI
    2083.001                                            Enterprise Architecture and Planning                                              SI
    2083.002                                                 Configuration Management                                                     SI
    2083.003                                                     Change Management                                                        SI
    2083.004                                       Information Systems Auditing and Monitoring                                            SI
    2084.001                                       Use and Operation of Mobile Data Computers                                             SI
    2092.002                                                Respiratory Protection Program                                                SI
    2092.003                              Self-Contained Breathing Apparatus Inspection and Maintenance                                   SI
    2092.004                                       Blood-Borne Pathogen Exposure Control Plan                                             SI
    2093.001                                               Property and Asset Management                                                  SI
    2093.002                                                   Maximo Security Policy                                                     SI




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